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1     Steve W. Berman, Esq.
      HAGENS BERMAN SOBOL SHAPIRO LLP
2
      1301 Second Avenue, Suite 2000
3     Seattle, WA 98101
4
      Elizabeth A. Fegan, Esq.
5     FEGAN SCOTT LLC
      150 S. Wacker Dr., 24th Floor
6
      Chicago, IL 60606
7
      Kenneth B. McClain, Esq.
8
      HUMPHREY FARRINGTON & McCLAIN, P.C.
9     221 W. Lexington Ave., Suite 400
10    Independence, MO 64050

11    Initial Conference Counsel and Counsel for Consumer Class Plaintiffs
12
      Peter J. Brennan, Esq.
13    JENNER & BLOCK LLP
14    353 North Clark Street
      Chicago, IL 60654-3456
15
16    Initial Conference Counsel and Counsel for Defendants

17
                           UNITED STATES DISTRICT COURT
18
19                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

20
     In Re: KIA HYUNDAI VEHICLE                  Case No.: 8:22-ML-3052 JVS(KESx)
21   THEFT MARKETING, SALES
22   PRACTICES, AND PRODUCTS                     JOINT PRELIMINARY REPORT
     LIABILITY LITIGATION
23                                               Date:    February 7, 2023
24                                               Time:    9:00 a.m.
     This document relates to:                   Place:   411 W. Fourth Street,
25                                                        Santa Ana, CA 92701
26   ALL CASES                                            Court Room 10C

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1                               JOINT PRELIMINARY REPORT
2             Pursuant to the Court’s Case Management Order No. 1: Initial Conference
3    (“Order”) dated December 22, 2022, Initial Conference Counsel respectfully submit the
4    following Joint Preliminary Report. Order, ⁋ 4.3.1
5                        I.    PROPOSED STRUCTURE OF COUNSEL
6             The Order preliminarily contemplated a counsel structure with a “Leadership
7    Committee” with responsibility for drafting and presenting to the Court an overall
8    scheduling plan, including a discovery plan, and a Subcommittee each for fact discovery
9    and expert discovery. The Order invited the parties to comment on two specific issues:
10   (i) “whether there should be specific representation on the Leadership Committee for
11   commercial interests, such as fleet owners”; and (ii) “whether a liaison committee should
12   be appointed to coordinate with state proceedings.” Order at 2.
13   A.       Plaintiffs’ Statement
14            Having met and conferred with various Plaintiffs’ Counsel, Initial Conference
15   Counsel for Plaintiffs recommend the following structure for Plaintiffs’ counsel. This
16   structure was sent to all counsel on file at the time, and all Plaintiffs’ counsel supported
17   the overall structure:
18                Lead Counsel Committee
19                  o Three members, with one member appointed Chair.
20                  o The Lead Counsel Committee is responsible for (i) steering the overall
21                     litigation for the plaintiffs, (ii) communicating with, and presenting
22                     arguments to, the Court, (iii) drafting and submitting all pleadings and
23                     briefing to the Court, (iv) managing all discovery, (v) convening
24                     meetings of counsel as needed, (vi) engaging in any settlement
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27        Defendants in the transferred cases include Kia America, Inc. (“KA”), Kia
     Corporation (“KC”), Hyundai Motor America (“HMA”), Hyundai Motor Company
28   (“HMC”), and Hyundai America Technical Center, Inc. (“HATCI”). Not all Defendants
     have been served in every case.
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1                    negotiations, and (vii) otherwise assisting in the coordination of activities
2                    and positions.
3                Executive Committee
4                 o Four members to include: (i) a lawyer that has fleet owners as clients,
5                    (ii) a lawyer that has clients with stolen cars and who were insured, (iii) a
6                    lawyer that has clients with stolen cars and who did not have insurance,
7                    (iv) a lawyer with clients whose cars were not stolen. Further, the Court
8                    may appoint two additional members at a later time to include (v) a firm
9                    that represents an insurer, should insurers enter the MDL; and (vi) a
10                   dealer, should dealers enter the MDL.
11                o The Executive Committee members shall advise lead counsel on any
12                   issues impacting their clients and may also serve on the Fact or Expert
13                   subcommittees if the Court so desires.
14             Fact Discovery Subcommittee
15                o Comprised of five lawyers.
16                o Two of the five members come from Lead Counsel.
17                o The Fact Discovery Subcommittee is responsible for directing fact
18                   discovery aimed at defendants and for facilitating responses to fact
19                   discovery served on plaintiffs.
20             Expert Discovery Subcommittee
21                o Comprised of five lawyers.
22                o Two of the five members come from Lead Counsel.
23                o The Expert Discovery Subcommittee is responsible for working with
24                   plaintiffs’ experts and directing discovery aimed at the defense experts.
25          This proposed structure ensures that the interests of all categories of plaintiffs and
26   putative class members are adequately represented (including non-consumers), provides
27   numerous firms with the opportunity to participate in leadership positions, yet is
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1    sufficiently streamlined to ensure sufficiency. See ANNOTATED MANUAL FOR COMPLEX
2    LITIGATION (FOURTH), § 10.221 at 37 (2022).
3           As to the Court’s question about whether a liaison committee should be appointed
4    to coordinate with state proceedings, we believe that it is unnecessary. This is not a case
5    that involves personal injury and wrongful death and, consequently, there are unlikely to
6    be related state proceedings.
7           Plaintiffs also do not believe it is appropriate to appoint a member representing a
8    local government to leadership, at this stage of the MDL. The parties are aware of only
9    one local government action filed to date, which was just filed on January 24, 2023. This
10   action is meaningfully distinct from the other actions involved in this litigation as it
11   brings just one count for public nuisance and does not seek to represent a class of
12   consumers. See infra § II.A (detailing the types of claims/causes of action alleged in this
13   litigation). As stated below, it is anticipated that one or more parties may object to the
14   transfer of this local government action into the MDL. See id. It is conceivable that other
15   local governments may become involved in this litigation in an effort to recover the
16   increased costs associated with responding to and investigating the dramatic increase in
17   auto theft. If such cases do get filed and are transferred into the MDL, it may then be
18   appropriate to appoint a liaison to those cases (if filed in state court) or to appoint a
19   representative for the local government plaintiffs to the Executive Committee.
20          As a final matter, Initial Conference Counsel for Plaintiffs circulated a draft of this
21   proposed leadership structure and Joint Status Report to all known consumer plaintiffs’
22   counsel on January 12 and 18, 2023. Initial Conference Counsel for Plaintiffs want to
23   express their appreciation for all other plaintiffs’ counsel that thoughtfully reviewed the
24   draft and shared their thoughts. In their decades of collective experience overseeing large
25   MDLs such as this one, Initial Conference Counsel were pleasantly surprised to see an
26   overwhelming consensus regarding their proposed structure. The overall agreement on
27   this proposed leadership structure is evident in the various appointment applications
28   submitted by plaintiffs’ counsel.

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1    B.    Defendants’ Statement
2          Defendants generally agree with the structure set forth by Plaintiffs except for the
3    proposed Executive Committee. The proposed Executive Committee introduces an
4    unnecessary layer of bureaucracy, as it is almost inevitable that the Lead Counsel will
5    have clients in proposed categories (ii), (iii), and (iv). However, there are currently no
6    cases involving (i) “fleet owners,” (v) “insurers,” or (vi) “dealers” as plaintiffs. A simple
7    direction to the Lead Counsel Committee to listen to and consider the views of any
8    counsel who have clients with special or differing interests—something that members of
9    that committee will undoubtedly do in any event—should be more than sufficient.
10   Defendants also agree with Plaintiffs that there is no need to appoint a member
11   representing local governments to leadership at this time, particularly given that there are
12   currently no cases involving local government plaintiffs in this MDL.
13           II.   STATEMENT OF FACTS AND CRITICAL LEGAL ISSUES
14   A.    Joint Statement of Facts and Legal Issues
15          On December 13, 2022, the Judicial Panel on Multidistrict Litigation (JPML)
16   issued an order in MDL No. 3052 transferring sixteen cases from fourteen District Courts
17   across the United States to this Court for consolidation and pre-trial coordination
18   pursuant to 28 U.S.C. §1407. At that time, an additional 34 cases were identified by the
19   JPML as potentially-related actions. To date, a total of approximately 55 cases from 26
20   District Courts are currently pending in this MDL.
21          All of the cases transferred as part of MDL No. 3052 involve claims arising from
22   the allegation that certain vehicles distributed or manufactured by Defendants did not
23   include “engine immobilizers,” which allegedly made them more susceptible to theft.
24   The various complaints contain different putative class definitions, but the majority of
25   the complaints define “Class Vehicles” (or “Affected Vehicles”) as certain Kia vehicles
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1    between model years 2011-2021 and certain Hyundai vehicles between model years
2    2015-2021 that lack engine immobilizers.2
3            The overwhelming majority of the transferred cases involve claims seeking
4    certification of nationwide classes or, alternatively, certification of single state classes.
5    Only two cases do not involve class claims. At this time, the transferred cases only
6    involve claims for economic damages; none of the transferred cases involve claims for
7    personal injury or death. Defendants have objected to the transfer of one case involving
8    wrongful death claims—that objection is currently being litigated before the JPML.
9    Additionally, one case was recently filed involving a local government plaintiff with a
10   sole count for public nuisance—one or more parties may object to its transfer to this
11   MDL.
12           In general, the transferred cases allege the following types of claims/causes of
13   action:
14            Violations of consumer protection and deceptive trade practices acts;
15            Misrepresentation (fraud/fraudulent concealment, negligent misrepresentation);
16            Breach of warranty (implied, express, Magnuson-Moss Warranty Act);
17            Product liability (including design defect and failure to warn); and
18            Unjust enrichment.
19           The categories of economic damages sought can be generally described as follows:
20            Reimbursement related to vehicle theft;
21            Diminution in value of vehicle; and
22            Damages related to insurance.
23           Plaintiffs may also seek declaratory relief in the form of a public relations or notice
24   campaign once a fix is available.
25           Plaintiffs’ Interim Conference Counsel expect that, once appointed, Plaintiffs’
26   Lead Counsel Committee will request a reasonable time period to prepare and file a
27
         2
28        The parties expect the putative class definition(s) to be further refined as this MDL
     continues.
                                                    5
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1    Consolidated Amended Complaint that synthesizes the various facts, class definitions,
2    and causes of action alleged in the lawsuits constituting this MDL. Plaintiffs’ Interim
3    Conference Counsel envisions that all counsel will need to be consulted with in preparing
4    this pleading to insure that all possible claims are considered. They request that the
5    timing of this pleading account for such consultation. Similarly, Defendants request that,
6    in conjunction with setting the timing for that pleading, a schedule also be set for briefing
7    motion(s) to dismiss that pleading, as Defendants believe that a decision on that motion
8    will result in the resolution of this litigation.
9    B.    Plaintiffs’ Statement Of Facts And Legal Issues
10         1.     Hyundai and Kia Failure to Use Engine Immobilizer Technology
11          The National Highway Traffic Safety Administration (“NHTSA”) defines an
12   engine immobilizer as “an anti-theft device that combines microchip and transponder
13   technology with engine and fuel immobilizer components that can prevent vehicles from
14   starting unless a verified code is received by the transponder. See Fed. Reg. Vol. 81, No.
15   189 at 66833, Sept. 29, 2016. See also 49 CFR §543.4 (“Immobilizer means a device
16   that, when activated, is intended to prevent a motor vehicle from being powered by its
17   own propulsion system.”) (italics in original).
18          Engine immobilizer technology started became commonplace in the automotive
19   industry in the mid-1990s. By 1998, the European Union began requiring engine
20   immobilizers in all new vehicles being sold. See European Union Directive 74/61/EEC.
21   Similar laws went into effect in Australia in 2001 and Canada in 2007. See Australian
22   Design Rule 82/00 – Engine Immobilsers; Canadian Motor Vehicle Safety Standard 114,
23   Theft Protection and Rollaway Prevention.
24          Insurance industry data has shown that once factory-installed vehicle immobilizer
25   systems began being installed, they significantly reduced vehicle theft. See Highway
26   Loss Data Institute (HLDI) Bulletin Vol. 38, No. 28 (December 2021) at pg. 1. While
27   the majority of automobiles sold in the United States included these anti-theft features
28   with their vehicles, Hyundai and KIA remained well behind the industry in implementing

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1    this technology. Id. For example, in 2015, Hyundai and KIA only equipped 26% of their
2    vehicles with standard-equipment immobilizers, while 96% of all other vehicles were
3    equipped with immobilizer technology. Id.
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11   Id. at pg. 2. As the graph above shows, in 2020, the automotive industry equipped nearly
12   all vehicles with immobilizers as standard equipment.
13          Although they failed to include this technology as standard equipment, both
14   Hyundai and KIA understood the benefits provided by engine immobilizer technology.
15          While discovery will demonstrate the actual scope of Affected Vehicles,
16   preliminary information suggests that the number of vehicles lacking immobilizer
17   technology may exceed 8 million across the various vehicle lines.
18         2.    Theft of Hyundai and Kia Vehicles Without Engine Immobilizer
19               Technology

20          Predictably, this lack of anti-theft technology in Hyundai and KIA vehicles was
21   exploited. In 2019, Denver, Colorado-area law enforcement began to take notice of an
22   acute increase in the number of Hyundai and KIA vehicles being stolen. See Denver
23   Police Report Huge Spike in Kia Thefts, https://cbsnews.com/colorado/news/denver-
24   police-kia-thefts/ (accessed January 9, 2023). This trend continued and, by 2021, the
25   Highway Loss Data Institute reported that from 2019 to 2021, the frequency of Hyundai
26   and KIA theft claims in Denver increased by a factor of 10. HLDI Bulletin at pg. 1.
27   During this same time period, the increase in vehicle theft was even more pronounced in
28   Milwaukee, Wisconsin, where thefts of Hyundai and KIA vehicles increased by 30 times.

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1    Id. While not as dramatic, the nationwide change in Hyundai and KIA vehicle thefts in
2    2021 increased 100% over the same reporting period for the previous year as reflected
3    in the following table. Id.
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11   Id.
12          Prior to 2020, theft of Hyundai and KIA model vehicles generally tracked that of
13   vehicles made by other manufacturers. However, as the graph below clearly shows, in
14   January 2020, theft claims for Hyundai and KIA model vehicles began to rise and by the
15   following year the incidence of Hyundai and KIA vehicle theft was approximately
16   double that for all other vehicles.
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24   Id. at pg. 5.
25   C.    Defendants’ Statement of Facts and Legal Issues
26          As an initial matter, Defendants do not believe it is appropriate at this time to delve
27   into statistics and studies related to immobilizer technology and vehicle theft. To the
28   extent this case proceeds past the motion to dismiss stage, discovery can be used to

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1    explain and contextualize the available research. Nonetheless, to respond to Plaintiffs’
2    inaccurate characterization of the data, Defendants note the following: In the NICB 2021
3    Hot Wheels Report, none of the vehicle models at issue here appeared in the NICB’s
4    national Top 10 “most stolen vehicles.” See Chevrolet and Ford Full Size Pick-Ups Most
5    Stolen Vehicles For Second Year in a Row, NATIONAL INSURANCE CRIME
6    BUREAU (July 19, 2022), https://www.nicb.org/news/news-releases/chevrolet-and-
7    ford-full-size-pick-ups-most-stolen-vehicles-second-year-row.
8           Further, as Plaintiffs try to ignore, immobilizer technology has not been and still
9    is not required in vehicles sold in the United States. Thus, these cases are an attempt to
10   impose a retroactive requirement going back 10-plus years that requires all automotive
11   companies to have produced their vehicles with an immobilizer as standard equipment
12   on all trim levels regardless of price point even though neither NHTSA nor any other
13   regulatory body in the United States has ever imposed such a requirement. It is not the
14   place of the courts to impose such a requirement, notwithstanding Plaintiffs’
15   mischaracterization of engine immobilizers as a “safety” feature.
16          These cases are also an attempt by Plaintiffs to hold Defendants liable for the
17   actions of third-party criminals. This apparent theft wave by amateur thief joy-riders
18   based on social media videos was unforeseeable; indeed, no one could have predicted a
19   universe in which thieves were comfortable driving around with a broken window,
20   thereby signaling that they are driving a stolen vehicle, and uploading footage of their
21   crimes to social media as a social media “challenge.” Further, the chain of causation is
22   too attenuated to hold Defendants liable.
23          Plaintiffs cannot legitimately dispute that the Class Vehicles were manufactured
24   as designed and as represented to purchasers. Plaintiffs purchased and leased vehicles
25   and/or vehicle trim levels without immobilizers and now say that they should not have
26   been able to do so. Indeed, they say that no vehicle should have been offered by sale by
27   any manufacturer unless it came equipped with a standard immobilizer. Although
28   Plaintiffs claim Defendants made misrepresentations, they are unable to identify any

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1    specific misrepresentations or explain how they relied on any misrepresentations to their
2    detriment.    The Class Vehicles fully complied and comply with all applicable
3    regulations, including Federal Motor Vehicle Safety Standard (“FMVSS”) 114, which
4    does not require the use of immobilizers.
5           As Plaintiffs’ description of the issues makes clear, Plaintiffs differ in countless
6    respects, including:
7        Some Plaintiffs own or lease vehicles with immobilizers.
8        Only some Plaintiffs have allegedly had their vehicles stolen.
9        The circumstances of the vehicle thefts differ greatly.
10       The Plaintiffs whose vehicles were allegedly stolen suffered different alleged
11         injuries.
12       Some Plaintiffs allege damages connected to the thefts, while others do not.
13       Some Plaintiffs allege their vehicles were repaired, while others allege that their
14         vehicles were not repaired for various reasons.
15       Of the Plaintiffs whose vehicles were allegedly stolen, not all have recovered their
16         vehicles.
17       Some Plaintiffs have vehicles with warranties that are still within the warranty
18         periods, and some do not.
19       Some         Plaintiffs   purchased/leased    new   vehicles,    and    some     Plaintiffs
20         purchased/leased used vehicles.
21       Only some Plaintiffs purchased vehicles from authorized Kia or Hyundai
22         dealerships.
23       Only some Plaintiffs allege (broadly) that they viewed and/or relied on
24         representations made by Defendants.
25          These differences will also exist among class members, ultimately precluding
26   certification of any class in the unlikely event Plaintiffs are able to survive motion(s) to
27   dismiss. Additional questions will also have to be answered on an individual basis,
28   precluding class certification, including: (i) whether the value of a putative class

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1    member’s vehicle has diminished (and, if so, by how much); and (ii) if the putative class
2    member’s vehicle was stolen, the cause of that theft. Further, many of the Plaintiffs and
3    putative class members, including those whose vehicles have not been stolen, lack
4    Article III standing, as they have not suffered any injury.
5           Plaintiffs also purchased their vehicles in different states and reside in different
6    states, and therefore different states’ laws will apply to different Plaintiffs’ claims.
7    Relatedly, Plaintiffs will not be able to certify a nationwide class because of the many
8    differences in state laws.
9           Defendants intend to make numerous dispositive legal arguments via motion(s) to
10   dismiss (or via motion for summary judgment to the extent any claims survive the motion
11   to dismiss stage). Those arguments are discussed in the next section.
12   D.    Dispositive Issues
13         1.    Plaintiffs’ Position
14          Plaintiffs do not foresee any potentially dispositive motions. First, Plaintiffs
15   believe that, for purposes of this Report, elaborate detail and argument about Defendants’
16   anticipated dispositive motions is inappropriate. Plaintiffs reserve the right to fully
17   contest Defendants’ arguments at the appropriate time, after discovery has commenced
18   and such issues can be informed by factual development; after Plaintiffs determine on
19   which claims and theories to proceed through either a consolidated complaint or
20   amended complaints. While Plaintiffs will respond to any such arguments at the
21   appropriate time, they do not believe any such “dispositive” motion would be
22   meritorious.
23         2.    Defendants’ Position
24          Defendants intend to file motions to dismiss, which Defendants expect to dispose
25   entirely of these cases. Indeed, that is why Defendants filed motions to dismiss in the
26   first-filed of these actions more than a year ago and those motions have been fully
27   briefed, yet undecided, for nearly a year. To the extent this MDL proceeds past the
28   motion to dismiss stage, Defendants intend to raise such arguments in a motion for

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1    summary judgment. Potential arguments are listed below (although Defendants intend
2    to more fully flesh out these arguments in an appropriate motion):
3           Plaintiffs’ claims are preempted.
4           Defendants are not liable for the intervening acts of third parties.
5           Many of Plaintiffs’ claims are barred by the applicable statutes of limitations.
6           Plaintiffs whose vehicles have not been stolen lack Article III standing.
7           Plaintiffs cannot seek equitable relief because they have an adequate remedy at
8             law.
9           As to the breach-of-warranty claims:
10               o Many Plaintiffs did not provide notice of the alleged breach to
11                   Defendants.
12               o The warranty period has expired for many of the Plaintiffs’ claims.
13               o The express warranties expressly exclude coverage for the allegations
14                   here.
15               o Defendants have not breached any implied or express warranties.
16               o Plaintiffs lack privity with Defendants.
17          As to the fraud, misrepresentation, and consumer protection statute claims:
18               o Plaintiffs cannot establish reliance.
19               o Plaintiffs cannot establish causation.
20               o Defendants did not make any actionable affirmative misrepresentations.
21               o Defendants did not fail to disclose any information they were obligated
22                   to disclose.
23               o Many Plaintiffs’ claims are barred by the economic loss rule.
24          As to the product liability and negligence claims (including failure to warn and
25            design defect claims):
26               o Many Plaintiffs’ claims are barred by the economic loss rule.
27               o Many Plaintiffs did not suffer any physical harm.
28               o Defendants did not breach any duty.

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1                     o Plaintiffs cannot establish causation.
2              As to the unjust enrichment claims:
3                     o Many states do not recognize unjust enrichment as a separate cause of
4                        action.
5                     o The unjust enrichment claims fail with Plaintiffs’ other claims.
6                     o Plaintiffs received something of value.
7                     o Defendants were not unjustly enriched.
8                      III. PROPOSED DEFINITION OF CORE DISCOVERY
9    A.       Plaintiffs’ Identification of Core Discovery
10             Based on their investigation to date, Plaintiffs identify the following core
11   discovery topics.
12            1.      Core Discovery Topics
13             The factual issues that will be the subject of discovery in this litigation primarily
14   concern Defendants’ design, manufacture, and marketing of the putative Affected
15   Vehicles, and the timing and extent of Defendants’ knowledge of the alleged Defect(s)
16   and the attendant auto theft risks.
17             Plaintiffs anticipate the following core discovery topics relating to the design and
18   manufacture of the Affected Vehicles:3
19             The nature, scope, and existence of design and/or manufacturing defect(s) in the
20                 Affected Vehicles that create a security vulnerability in the vehicles and makes
21                 them highly prone to theft;
22             The design, development, and manufacture of the Affected Vehicles’ steering
23                 column assembly and ignition systems, including, the ignition lock cylinders
24                 and ignition switches, as well as alternative and competitive product designs;
25
26
          3
           The core discovery topics listed in the paragraphs below are not exclusive to the
27   stated topic. For example, Defendants’ decisions to exclude engine immobilizers as a
     standard safety component in all of their vehicles sold in the United States prior to 2023
28   is relevant to issues pertaining to design of the Affected Vehicles as well as Defendants’
     knowledge of the alleged Defect(s) and increased risk of auto theft.
                                                     13
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1           The design, development, and manufacture of the Affected Vehicles’ anti-theft
2             and alarm systems, as well as alternative and competitive product designs;
3           Whether Defendants’ design, development, and manufacture of the Affected
4             Vehicles comport with the standard of care in the automotive industry and
5             Federal Motor Vehicle Safety Standards (“FMVSS”), including FMVSS No.
6             114;
7           Defendants’ documentation, testing and evaluation demonstrating compliance
8             with FMVSS No. 114;
9           Defendants’ submissions to NHTSA regarding any proposed rulemaking
10            concerning FMVSS 114, engine immobilizers, or exemptions to parts marking
11            requirements (“PMR”);
12          Whether the alleged Defect(s) in the Affected Vehicles was a substantial factor
13            in auto thefts of such Vehicles;
14          Defendants’ applications to NHTSA for exemptions from PMR for certain of
15            their vehicles, pursuant to 49 C.F.R. §§ 543.1 et seq.;
16          Defendants’ knowledge concerning the effectiveness of engine immobilizers in
17            preventing auto thefts;
18          Defendants’ decisions to exclude engine immobilizers as a standard safety
19            component in all of their vehicles sold in the United States prior to model year
20            2023 vehicles and Defendants’ decisions to include immobilizers in certain
21            models;
22          Defendants’ decision to install engine immobilizers in any of their U.S. vehicles.
23          Plaintiffs anticipate the following core discovery topics relating to the timing,
24   nature, and extent of Defendants’ knowledge of the alleged Defect(s) and the increased
25   risk of theft for the Affected Vehicles:
26          Defendants’ notice, awareness, and intent, i.e., what they knew or should have
27            known regarding the alleged Defect(s) and attendant increased risk of auto
28            thefts;

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1           The incidents of auto thefts involving the Affected Vehicles and other vehicles
2             made by Defendants, and people who have experienced, witnessed or
3             documented such incidents, including insurance and law enforcement
4             personnel;
5           What Defendants did and failed to do when it learned of the alleged Defect(s)
6             and attendant auto theft problem;
7           Defendants’ representations and conduct regarding the alleged Defect(s) and
8             attendant auto theft problem;
9           Defendants’ concealment and omissions regarding the alleged Defect(s) and
10            attendant auto theft problem;
11          Defendants’ communications with affiliates and their dealerships relating to the
12            alleged Defect(s) and attendant auto theft problem;
13          Information provided by dealerships to Defendants relating to the alleged
14            Defect(s) and attendant auto theft problem;
15          Warranty and replacement part records for components affected by the alleged
16            Defect(s), including steering column assemblies, ignition lock cylinders,
17            ignition switches, windows, and alarm systems;
18          Customer reports, complaints, lawsuits and claims relating to the alleged
19            Defect(s) and attendant auto theft problem;
20          Defendants’ dealings with regulatory agencies, including NHTSA relating to the
21            alleged Defect(s) and attendant auto theft problem;
22          Defendants’ position(s) in government and legislative investigations relating to
23            the alleged Defect(s) and attendant auto theft problem.
24          Plaintiffs anticipate the following core discovery topics relating to the sale and
25   marketing of the Affected Vehicles:
26          Defendants’ marketing and promotional efforts regarding the Affected Vehicles
27            and the results of these efforts, including Defendants’ marketing campaigns
28            regarding the safety, quality, and reliability of the Affected Vehicles;

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1           Defendants’ development and dissemination of owner manuals for the Affected
2             Vehicles;
3           Defendants’ duty and responsibility to disclose the alleged Defect(s) and
4             attendant auto theft problem;
5           Defendants’ decisions as to whether and when to notify owners, purchasers, and
6             lessees of the Affected Vehicles of the alleged Defect(s) and attendant auto theft
7             problem.
8           Plaintiffs anticipate the following core discovery topics that relate to other matters
9    relevant to Plaintiffs’ claims:
10          Defendants’ management structures, corporate hierarchies, the role of particular
11            divisions and the identity of specific personnel responsible for matters relevant
12            to the claims and defenses in these actions, i.e., the core discovery topics;
13          Defendants’ preservation of relevant evidence, including potential loss,
14            destruction, or spoliation of evidence, including electronically stored
15            information;
16          The feasibility of repairing the alleged Defect(s) and/or preventing auto theft
17            incidents involving the Affected Vehicles, including the potential cost,
18            availability, or effectiveness of possible remedies;
19          Whether consumers have been harmed by the alleged Defect(s) in the Affected
20            Vehicles;
21          The diminution of value of the Affected Vehicles as a result of the alleged
22            Defect(s) and attendant auto theft problem;
23          Consequential damages borne by Class Vehicle owners and lessees as a result
24            of the alleged Defect(s) and attendant auto theft problem, including increased
25            insurance expenses;
26          Whether Defendants’ conduct and business practices concerning the alleged
27            Defect(s) and attendant auto theft problem were unfair, unlawful, fraudulent,
28            and/or misleading;

                                                  16
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1             The nature and extent of any damages Plaintiffs have suffered.
2             Additionally, because Plaintiffs’ claims include rescission/restitution claims, and
3    statutory claims that provide for multiple damages and/or penalties, and because punitive
4    damages have been alleged by Plaintiffs, discovery into Defendants’ finances and profits
5    will also be required.
6            2.    Relevant Time Period for Core Discovery
7             This litigation concerns over a decade’s worth of vehicles manufactured and sold
8    by Defendants, which go back to model year 2011 vehicles. Typically, it takes several
9    years to design a vehicle and each vehicle incorporates design elements from prior model
10   years. This means that many of the key components central to this litigation (i.e., ignition,
11   anti-theft, and alarm systems) were likely designed by Defendants many years before
12   they were sold. Defendants have installed engine immobilizers as standard equipment in
13   all of their vehicles sold in Europe since 1998, Australia since 2001, and Canada since
14   2007. Accordingly, the scope of discovery for topics relating to the design of the Affected
15   Vehicles and Defendants’ knowledge of the auto theft problem involving Affected
16   Vehicles should go back to at least 1998.
17           3.    Types of Discovery
18            Core discovery will involve the deposition of Defendants’ employees and
19   corporate designees involved in the design and implementation, development, and
20   manufacture of the Affected Vehicles’ steering column assembly, ignition systems, and
21   anti-theft and alarm systems, and those current and former employees who have
22   knowledge of the alleged Defect(s) and attendant auto theft problem in both the design
23   stage of the vehicles as well as post-sale.
24            Plaintiffs also anticipate taking the depositions of employees and corporate
25   designees of Defendants’ affiliates, e.g., Hyundai America Technical Center, Inc.
26   (“HATCI”),4 third-party component suppliers of various components installed in the
27
28
         4
             HATCI has been named a defendant in some, but not most, related actions.
                                                   17
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1    Affected Vehicles, including, steering column assemblies, ignition lock cylinders,
2    ignition switches, windows, and alarm systems, and insurance and/or law enforcement
3    personnel who have experience with the auto theft problem created by the alleged
4    Defect(s).
5           Defendants and other third parties in the automotive industry largely rely on
6    electronic records. Plaintiffs anticipate that electronically stored information will be the
7    primary form of information sought.
8           Document discovery can start expeditiously, by Defendants’ production of the
9    documents, information, and statements that they have exchanged with NHTSA,
10   legislatures, and/or the news media relating to the auto theft problem. Additionally,
11   Defendants can expedite discovery by producing all records relating to their ongoing
12   investigations into the auto theft problem and their proposed or anticipated remedies for
13   the alleged Defect(s).
14          Plaintiffs anticipate that Defendants will seek written discovery and oral testimony
15   from each Plaintiff related to their purchase or lease of their Class Vehicle.
16         4.     Timing
17          Plaintiffs contend that discovery should proceed notwithstanding any forthcoming
18   Rule 12 motion practice.
19   B.    Defendants’ Identification of Core Discovery
20         1.     Core Discovery Topics
21   From Defendants
22         Defendants understand that Plaintiffs will seek the discovery described above.
23   Defendants will provide their objections at the appropriate time if the litigation proceeds
24   to the discovery stage. For informational purposes, Defendants note the following: HMA
25   and KA distribute for further sale and market certain Hyundai and Kia brand vehicles,
26   respectively, in the United States. HMA and KA are not now, nor have they ever been,
27   responsible for the design, manufacture, developmental testing, FMVSS compliance
28

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1    testing, or assembly of any Hyundai or Kia brand vehicles. HMC and KC are responsible
2    for the overall design and testing of Hyundai and Kia vehicles, respectively.
3    From Plaintiffs
4          Defendants anticipate taking Plaintiffs’ depositions and seeking written discovery
5    on the following categories:
6        Documents/information concerning Plaintiffs’ vehicles, including
7             o Year, make, model, and VIN
8             o Location of the vehicle
9             o Ownership history
10            o Service and maintenance history
11            o Prior accidents
12            o Aftermarket modifications
13       Documents/information concerning the alleged thefts of Plaintiffs’ vehicles,
14         including
15            o Date and time of thefts
16            o Witnesses with knowledge of thefts
17            o Police reports regarding thefts
18            o Insurance communications
19            o Injury/damages related to theft
20       General background information concerning Plaintiffs, including
21            o Identifying information
22            o Education history
23            o Employment history
24            o Vehicle history
25            o Litigation history
26       Other potential damages information, including
27            o Price paid for vehicle, lease payment history for vehicle, or vehicle financing
28               history

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1               o Efforts to sell or trade in the vehicle, including any offers made or accepted
2               o Purported evidence of diminution in value of the vehicle
3    From Third Parties
4           Defendants may seek the following discovery from third parties:
5        Theft data and statistics
6        Documents from insurers, including documents regarding underwriting and pricing
7        Documents reflecting ownership of Plaintiffs’ vehicles, including title/lease
8          documents
9        Documents reflecting maintenance, repairs, or alterations to Plaintiffs’ vehicles
10       Documents reflecting financing of Plaintiffs’ vehicles
11       Police reports or other documents related to thefts of Plaintiffs’ vehicles
12   Expert Discovery
13         Defendants anticipate using experts but believe it is premature to discuss the topics
14   of that discovery at this time.
15         2.      Timing
16          Plaintiffs should be required to survive motions to dismiss before Defendants are
17   required to produce any discovery, particularly given that Plaintiffs are unlikely to
18   survive the motion to dismiss stage. See, e.g., Mujica v. AirScan Inc., 771 F.3d 580, 593
19   (9th Cir. 2014) (The Supreme Court has stated . . . that plaintiffs must satisfy the pleading
20   requirements of Rule 8 before the discovery stage, not after it.) (citing Ashcroft v. Iqbal,
21   556 U.S. 662, 678–79 (2009)); Persian Gulf Inc. v. BP W. Coast Prod. LLC, 225 F. Supp.
22   3d 1178, 1180 (S.D. Cal. 2016) (“Plaintiffs are not entitled to discovery in order to allege
23   sufficient facts to ‘nudge [their] claim across the line from conceivable to plausible.’”)
24   (citations omitted). And even if motions to dismiss does not entirely dispose of all
25   Plaintiffs’ claims, they will undoubtedly narrow the claims and accordingly narrow the
26
27
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1    scope of discovery. Thus, it is most efficient to stay discovery until Plaintiffs can survive
2    motions to dismiss.5
3                                     IV. PENDING MOTIONS
4            Motions are pending in only one case, Marvin et al. v. Kia America, Inc. et al.,
5    No. 2:21-cv-01146-PP (E.D. Wis.), and are set forth below:
6            1.     Defendants Kia America, Inc. and Hyundai Motor America’s Motion to
7    Dismiss (Dec. 22, 2021) (Dkts. 19, 20)
8            2.     Defendant Hyundai America Technical Center, Inc.’s Motion to Dismiss
9    (Dec. 22, 2021) (Dkts. 21, 22)
10           3.     Plaintiffs’ Motion to Take Judicial Notice (Aug. 23, 2022) (Dkt. 36)
11                               V.    KNOWN RELATED CASES
12           Attached as Exhibit A is a chart listing all related federal cases that the parties are
13   currently aware of, as well as the status of each such case.
14           Attached as Exhibit B is a chart listing one federal case currently pending an
15   opposition to its transfer before the JPML.
16           Attached as Exhibit C is a chart listing one federal case whose transfer may be
17   opposed by one or more parties before the JPML.
18           The parties are not currently aware of any state court cases that are related to this
19   litigation and that have not yet been removed to federal court.
20                    VI. PARENTS, SUBSIDIARIES, AND COMPANIES
                      AFFILIATED WITH THE CORPORATE PARTIES
21
22   Kia Entities
23           Kia America, Inc. (“KA”) is a California corporation with its principal place of
24   business in Irvine, California. KA is a wholly-owned subsidiary of Kia Corporation
25
         5
26        Defendants further note that they have had motions to dismiss pending in the first-
     filed case, Marvin et al. v. Kia America, Inc. et al., No. 2:21-cv-01146-PP (E.D. Wis.),
27   since December 2021. That motion has been fully briefed since March 2022. The court
     in that case ultimately declined to rule on the motions once the MDL proceedings before
28   the JPML had begun, but Defendants expect that a ruling on those motions would have
     deterred the filing or pursuit of many of the cases in this MDL.
                                                   21
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1    (“KC”). KC is a publicly traded corporation on the Korean stock exchange and is
2    organized under the laws of the Republic of Korea with its principal place of business in
3    Seoul, South Korea. Hyundai Motor Company owns 10% or more of KC’s stock.
4    Hyundai Entities
5           Hyundai Motor America (“HMA”) is a California corporation with its principal
6    place of business in Fountain Valley, California. Hyundai Motor Company (“HMC”) is
7    the sole parent corporation and owner of HMA.          HMA is not a publicly traded
8    corporation. HMC is a publicly traded corporation on the Korean stock exchange and is
9    organized under the laws of the Republic of Korea with its principal place of business in
10   Seoul, South Korea. Hyundai MOBIS Co., Ltd. owns 10% or more of HMC’s stock.
11          Hyundai America Technical Center, Inc. (“HATCI”) is a Michigan corporation
12   with its principal place of business in Superior Township, Michigan. HATCI is a wholly-
13   owned subsidiary of HMC.
14                 VII. COUNSEL ASSOCIATED IN THE LITIGATION
15   Plaintiffs’ Counsel
16         The following counsel will be involved in this MDL proceeding on behalf of
17   Plaintiffs:
18       Baer Law, LLC
19       Baker & Patterson LLP
20       Baron & Budd, P.C.
21       Barton Legal S.C.
22       Begam Marks & Traulsen, PA
23       Boni, Zack & Snyder
24       Brad Sohn Law Firm, PLLC
25       Burns Charest LLP
26       Bursor & Fisher, P.A.
27       Chestnut Cambronne, PA
28       Conley Griggs Partin, LLP

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1        Consumer Protection Legal LLC
2        DiCello Levitt Gutzler LLC
3        Donner Applewhite, Attorneys at Law
4        Fegan Scott LLC
5        Futscher Law, PLLC
6        Gadtke Law Firm, P.A.
7        Gertler Law Firm
8        Glancy Prongay & Murray LLP
9        Goldenberg Schneider, LPA
10       Golomb Spirt Grunfeld, P.C.
11       Gustafson Gluek PLLC
12       Hagens Berman Sobol Shapiro LLP
13       The Harrington Firm
14       Hellmuth & Johnson, PLLC
15       Humphrey, Farrington & McClain, P.C.
16       Hovde Dassow & Deets, LLC
17       Janet, Janet & Suggs, LLC
18       Johnson Becker PLLC
19       Kazerouni Law Group, APC
20       Kent, Beatty & Gordon, LLP
21       Kohn, Swift & Graf, P.C.
22       Law Office of Francis J. Flynn, Jr.
23       Law Office of Rhett Francisco
24       Law Office of Thomas G. Adams
25       Lenze Lawyers, PLC
26       Lockridge Grindal Nauen P.L.L.P.
27       The Lyon Firm, LLC
28       Maschka, Riedy, Ries, & Frentz

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1        McLafferty Law Firm, P.C.
2        Meyer Njus Tanick, P.A.
3        Migliaccio & Rathod LLP
4        Milberg Coleman Bryson Phillips Grossman PLLC
5        MLG, APLC
6        Morgan & Morgan Complex Litigation Group
7        Morris Law Firm
8        Nye, Stirling, Hale & Miller, LLP
9        Oliver Law Group PC
10       Payne Law LLC
11       Pollock Cohen, LLP
12       Precept Group, LLP
13       Pro Injury Attorneys, APC
14       Reinhardt Wendorf & Blanchfield
15       Rubens Kress & Mulholland
16       Sauder Schelkopf LLC
17       Schubert Jonckheer & Kolbe LLP
18       Sina Rez Law, P.C.
19       Siri & Glimstad LLP
20       Smith & McElwain Firm
21       Sommers Schwartz, PC
22       Spector Roseman & Kodroff, P.C.
23       Throndset Michenfelder LLC
24       Turke Strauss, LLP
25       Williams Dirks Dameron LLC
26       Wolf Haldenstein Adler Freeman & Herz LLC
27          The following counsel are involved in one individual case currently pending an
28   opposition to its transfer before the JPML:

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1        Richmond Vona, LLC
2           The following counsel are involved in one individual case whose transfer may be
3    opposed by one or more parties before the JPML:
4        Keller Rohrback LLP
5        Seattle City Attorney
6    Defendants’ Counsel
7          The following counsel will be involved in this MDL proceeding on behalf of
8    Defendants:
9        Jenner & Block LLP
10          The following counsel have been involved in individual cases that have been
11   transferred to this MDL but are not expected to be involved in this MDL proceeding:
12       Baker Sterchi Cowden & Rice LLC
13       Belin McCormick, P.C.
14       Greene Espel PLLP
15       Hill Ward & Henderson, P.A.
16       LeVan Stapleton Segal Cochran LLC
17       Sturgill, Turner, Barker & Moloney, PLLC
18          The following counsel are involved in one individual case currently pending an
19   opposition to its transfer before the JPML:
20       Gibson, McAskill & Crosby, LLP
21
22
23   Dated: January 30, 2023          Respectfully Submitted.
24
25                                     By: /s/ Steve W. Berman
                                          Steve W. Berman, Esq.
26                                        HAGENS BERMAN SOBOL SHAPIRO LLP
27                                        1301 Second Avenue, Suite 2000
                                          Seattle, WA 98101
28

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1
                                   By: /s/ Elizabeth A. Fegan
2
                                      Elizabeth A. Fegan, Esq.
3                                     FEGAN SCOTT LLC
                                      150 S. Wacker Dr., 24th Floor
4
                                      Chicago, IL 60606
5
6
                                   By: /s/ Kenneth B. McClain
7                                     Kenneth B. McClain, Esq.
                                      HUMPHREY FARRINGTON & McCLAIN
8
                                      221 W. Lexington Ave., Suite 400
9                                     Independence, MO 64050
10
                                       Initial Conference Counsel and Counsel for
11                                     Plaintiffs
12
13
14                                 By: /s/ Peter J. Brennan
                                      Peter J. Brennan, Esq.
15                                    JENNER & BLOCK LLP
16                                    353 North Clark Street
                                      Chicago, IL 60654-3456
17
18                                     Initial Conference Counsel and Counsel for
                                       Defendants
19
20
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